        Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 1 of 21                    FILED
                                                                                 2020 May-04 PM 04:41
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

JOHN PRINCE,                )
                            )
     Plaintiff,             )
                            )
v.                          ) Case No.: 5:20-cv-00208-LCB
                            )
HUI HULIAU; DERYL WRIGHT;   )
HOWARD RUSSELL; and         )
4P MANAGEMENT COMPANY, LLC, )
                            )
     Defendants.            )

             FIRST AMENDED AND RESTATED COMPLAINT

      COMES NOW Plaintiff JOHN PRINCE files this First Amended and

Restated Complaint (this “Complaint”) against HUI HULIAU, DERYL WRIGHT,

HOWARD RUSSELL, and 4P MANAGEMENT COMPANY, LLC pursuant to

Rules 15 and 19 of the Federal Rules of Civil Procedure, and this Court’s

Scheduling Order (Doc. 21), as subsequently amended by the General Orders

entered by this Court. In support of his Complaint against Defendants, Prince

states the following:

                                     PARTIES

      1.     Plaintiff John Prince (“Prince”) is an individual over the age of

nineteen (19) years who resides in Guntersville (Marshall County), Alabama.
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 2 of 21




      2.     Defendant Hui Huliau (“Hui”) is a Hawaii Nonprofit Corporation

headquartered in Waianae, Hawaii.

      3.     Defendant Deryl Wright (“Wright”) is an individual over the age of

nineteen (19) years who, upon information and belief, resides in Norman,

Oklahoma. Wright is Hui’s Chief Executive Officer (CEO).

      4.     Defendant Howard Russell (“Russell”) is an individual over the age of

nineteen (19) years who, upon information and belief, resides in Monroeville,

Pennsylvania. Russell is Hui’s Chief Financial Officer (CFO).

      5.     Defendant 4P Management Company, LLC (“4P”) is a Delaware

limited liability company headquartered in Norman, Oklahoma. Upon information

and belief, one or more of Hui, Wright, and/or Russell are members of 4P.

      6.     Hui, Wright, Russell, and 4P are collectively referred to herein as

“Defendants.”

      7.     Each of the Defendants acted individually and/or as the agent, servant,

employee, partner and/or co-venturer of one another, or were otherwise engaged in

a joint enterprise. Alternatively, each of the Defendants acted through their agents,

servants, employees, partners and/or co-venturers and are liable to Prince under

respondeat superior and/or agency theories, or are otherwise vicariously liable.




                                          2
        Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 3 of 21




                          JURISDICTION AND VENUE

      8.     This Court has subject matter jurisdiction over this action under 28

U.S.C. § 1332, as complete diversity exists between the parties, and the amount in

controversy exceeds $75,000.00.

      9.     Venue is proper in this Court under 28 U.S.C. § 1391.

      10.    This Court has personal jurisdiction over the Defendants because,

among other things: (1) they transacted, and continue to transact, business within

the state of Alabama; (2) the claims asserted in this action arose from or are

connected with purposeful and tortious acts or omissions committed by them, in

whole or in part, in or directed toward a resident of the state of Alabama; (3) they

have committed tortious acts or omissions, directly or indirectly, that caused

substantial harm in the state of Alabama; (4) they have had continuous and

systematic contacts with the state of Alabama by engaging in numerous activities

that have had an effect in this state; (5) they executed contracts in Alabama with an

Alabama resident (Prince) that required performance in Alabama; and/or (6) they

have consented to this Court’s exercise of personal jurisdiction in this action.

      11.    Moreover, pursuant to a Continuing Guaranty entered between Hui

and Prince on or about August 31, 2017 (“Hui Guaranty”), the parties stipulated

and agreed, in pertinent part, as follows:

             Guarantor [Hui] acknowledges the negotiation of the
             provisions of this Guaranty took place, and this Guaranty

                                             3
        Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 4 of 21




             is being executed in the State of Alabama. Guarantor
             acknowledges that any cause of action arising under this
             Guaranty will be a cause of action arising from an
             Alabama transaction and that it is guaranteeing payment
             of Indebtedness owing to an individual resident of the
             State of Alabama, that it is foreseeable that this Guaranty
             and the performance hereof have and will have
             significant effects in the State of Alabama, and that
             Guarantor’s execution of this Guaranty will subject
             Guarantor to the jurisdiction of the State of Alabama.

      12.    Pursuant to an Accommodation Pledge Agreement entered between

Hui and Prince on September 6, 2017 (“Stock Pledge Agreement”), the parties

stipulated and agreed, in pertinent part, as follows:

             (c) This [Stock Pledge] Agreement shall be governed by
             and construed in accordance with the laws of the State of
             Alabama, without regard to its conflict of laws principles
             that would result in the application of the laws of a
             different state.

             (d) Jurisdiction and Venue. The parties to this [Stock
             Pledge] Agreement agree that any action on this
             Agreement shall be brought exclusively in a court of
             competent subject matter jurisdiction located in
             Huntsville, Madison County, Alabama. The parties
             hereby consent to personal jurisdiction in such
             courts….Each party hereby agrees that such courts
             constitute reasonable and convenient venues for the
             adjudication for any dispute arising under this [Stock
             Pledge] Agreement and agrees to waive any defense
             based on the convenience of any such court as a forum.




                                           4
        Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 5 of 21




         FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

      13.    In 2003, Prince and others formed KAYA Associates, Inc.

(“KAYA”), an Alabama corporation headquartered in Huntsville, Alabama. Prince

owned 90% of KAYA’s stock.

      14.    Prince’s ethnicity made KAYA eligible for the Small Business

Administration’s 8(a) program, which sets aside certain government contracts for

competition among certified 8(a) companies.

      15.    Under Prince’s ownership and leadership, KAYA grew and prospered.

Much of KAYA’s success was built upon its status as a small, disadvantaged 8(a)

business. However, KAYA’s 8(a) status, and the advantages that went with it,

expired after nine years.

      16.    KAYA reorganized in April 2016. As part of the reorganization,

Breifne Group, LLC (“Breifne”) acquired all of KAYA’s capital stock. As part of

that transaction, Prince loaned KAYA $6,389,201.25, the proceeds of which were

used by KAYA to redeem Prince’s KAYA stock. KAYA executed a Promissory

Note and Security Agreement in favor of Prince (collectively “Original Loan

Documents”), granting Prince a security interest and collateral for the $6.4 million

loan he made to the company.

      17.    On September 6, 2017, H2 acquired all of KAYA’s stock from

Breifne pursuant to a Transaction Agreement executed by H2, Breifne, Daniel


                                         5
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 6 of 21




McCauley (Breifne’s Owner and Managing Member), KAYA, and Prince (the

“Hui Transaction Agreement”). As part of that transaction, Hui paid Prince

$500,000.00 and, following a true-up, Prince swept $1,587,928.00 from KAYA’s

bank account.

      18.   The Hui Transaction Agreement prohibited KAYA from paying any

broker fees, finder fees, or any other fee or commission in connection with the

transactions undertaken as part of Hui’s acquisition of KAYA.

      19.   On the same day that Hui acquired KAYA (September 6, 2017), Hui

caused KAYA to pay a $200,000.00 fee or commission to 4P.

      20.   As part of Hui’s acquisition of KAYA, Prince agreed to restructure

the loan to KAYA reflected in the Original Loan Documents. On September 6,

2017, Prince and KAYA entered into an Amended and Restated Loan and Security

Agreement with KAYA (“Loan Agreement”), restructuring KAYA’s debt into two

tranches: Tranche A in the amount of $3,287,500.00 (“Tranche A Loan”), and

Tranche B in the amount of $1,314,201.00 (“Tranche B Loan”). Hui also executed

an Amended and Restated Promissory Note in the amount of $4,481,701.25

(“Promissory Note”).

      21.   The Loan Agreement required KAYA and/or Hui (as Guarantor) to

make quarterly 6% interest payments to Prince until the unpaid principal balance

of the Tranche A Loan was paid in full (“Tranche A Interest Payment”). KAYA


                                         6
        Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 7 of 21




and/or Hui (as Guarantor) was also required to make quarterly principal payments

in an amount equal to the greater of zero plus 30% of KAYA’s free cash flow for

the three-month period ending on the last day of the second month of such calendar

quarter (“Tranche A Principal Payment”).

      22.    The Loan Agreement required KAYA and/or Hui to submit to Prince:

(1) KAYA’s compiled fiscal year-end financial statements compiled by an

independent certified public accountant; (2) KAYA’s interim company prepared

financial statements after the close of each fiscal quarter; and (3) such other

financial and related information when and as requested by Prince regarding

KAYA and the collateral (“Financial Records Obligations”).

      23.    The Loan Agreement prohibited KAYA and Hui from engaging in

specific acts that could jeopardize KAYA’s ability to pay the indebtedness owed to

Prince or otherwise operate as a going concern, including without limitation: (1)

incurring any new indebtedness without the prior written consent of Prince, if such

indebtedness would result in KAYA having a debt service coverage ratio of greater

than three to one (3:1) during its first year after such borrowing; (2) liquidating,

discontinuing, or materially reducing KAYA’s normal operations; (3) dissolving,

merging, liquidating, or selling KAYA; (4) guaranteeing, endorsing, or becoming a

surety for obligations of any other person or entity, without the prior written

consent of Prince; (5) making any loans or advancing any monies to any other third


                                           7
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 8 of 21




person or entity, without the prior written consent of Prince (“Prohibited

Transactions”).

      24.    As part of the restructuring of Prince’s loan to KAYA, Hui executed

the Hui Guaranty on September 6, 2017, whereby Hui guaranteed and promised to

pay KAYA’s indebtedness to Prince under the Tranche A Loan and Loan

Agreement.

      25.    As part of the restructuring of Prince’s loan to KAYA, Hui executed

the Stock Pledge Agreement to, among other things, secure Hui’s obligations under

the Hui Guaranty, and to assign, transfer, grant, convey, set over, and pledge the

Common Stock of KAYA held by Hui, together with any additional shares of the

capital stock of KAYA later issued to Hui (“KAYA Stock”). As part of that

transaction, Hui executed an Assignment (Separate) From Certificate (“KAYA

Stock Assignment”), whereby Hui sold, assigned, and transferred the KAYA Stock

to Prince pursuant to the Stock Pledge Agreement.

      26.    Section 4 of the Stock Pledge Agreement required Hui to deliver to

Prince the original KAYA Stock certificates and the executed KAYA Stock

Assignment, to be held by Prince until KAYA’s indebtedness and/or Hui’s

guaranty obligations under the Hui Guaranty were satisfied in full.

      27.    The Defendants failed or refused to deliver the KAYA Stock to Prince

as required by the Stock Pledge Agreement.


                                          8
        Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 9 of 21




       28.   Section 7 of the Stock Pledge Agreement addressed Prince’s remedies

if KAYA or Hui defaulted on their obligations under the Loan Agreement and/or

Hui Guaranty. In the event of default, Prince could: (1) declare the entire balance

of the Tranche A Loan immediately due and payable; (2) sell the collateral, or any

part thereof, including the KAYA Stock; (3) transfer the KAYA Stock to Prince’s

name and exercise all rights, powers, and remedies of an owner of the KAYA

Stock; and/or (4) exercise all other remedies available to Prince under the Uniform

Commercial Code (UCC) in effect in the State of Alabama, or in equity, or under

the terms of any of the aforementioned agreements between Prince, KAYA, and/or

Hui.

       29.   KAYA and/or Hui made quarterly Tranche A Interest Payments until

June 2019, at which time they defaulted.

       30.   Upon information and belief, Hui made a single quarterly Tranche A

Principal Payment in the amount of $9,295.00 on July 24, 2018.

       31.   Neither KAYA nor Hui has fully complied with the Financial Records

Obligations, despite repeated requests by Prince.

       32.   Prince contacted Hui in July 2019, and the parties met in August of

2019 to discuss Hui’s and KAYA’s failure to pay the June 2019 Tranche A Interest

Payment, Hui’s and KAYA’s failure to make Tranche A Principal Payments, and




                                           9
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 10 of 21




their failure to comply with the Financial Records Obligations. On August 15,

2019, Prince’s counsel sent a default and demand letter to Hui and KAYA.

      33.    Following these communications, Hui and/or KAYA began making

quarterly Tranche A Interest payments but refused to make any further Tranche A

Principal Payments or fully comply with the Financial Records Obligations.

      34.    Prince has since learned that the Defendants have been pilfering and

depleting KAYA’s assets and cash reserves by, among other things, engaging in or

causing KAYA to engage in Prohibited Transactions to avoid paying Tranche A

Principal Payments, diminish and/or waste the value of Prince’s collateral, namely

the KAYA Stock. Specifically, the Defendants have caused KAYA unlawfully

direct KAYA funds to themselves, to pay the Defendants’ personal expenses, third-

parties, and/or entities owned or controlled by the Defendants. Prince has also

learned that the Defendants have (or intend to) transfer and comingle KAYA’s

financial and accounting functions with Hui’s and/or other entities owned and

controlled by Hui.

      35.    For example, Hui only recently provided KAYA’s consolidated

financial statements for the fiscal year ended December 31, 2018. Those

statements showed nebulous entries for “other expenses” of ($281,215.00), and

“related party receivable” of ($349,367.00). According to the notes accompanying

the statements, the “related party receivable” reflected unsecured, zero interest


                                         10
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 11 of 21




loans from KAYA to Hui and other “related party entities.” The notes also

identified $527,866.00 in unallowable costs that could not be included in prices,

cost reimbursements, or settlements under a government contract.

      36.       Moreover, in a February 13, 2020 email to Prince, Russell admitted

that Hui “uncovered significant irregularities that have caused Kaya in excess of 6

figures (maybe even 7 figures) in profitability.”

      37.       Defendants Wright, Russell and 4P knew or should have known that

Prince entered into the Transaction Agreement, Loan Agreement, Promissory

Note, Hui Guaranty, Stock Pledge Agreement, and KAYA Stock Assignment with

KAYA and Hui. Despite their knowledge of these contracts, Defendants Wright,

Russell and 4P intentionally and tortiously interfered with Prince’s contractual

agreements with KAYA and Hui, and knowingly and intentionally caused and/or

aided KAYA and Hui to breach their contractual obligations to Prince.

      38.       The Defendants’ acts and omissions are part of an overall scheme

and/or conspiracy to tortiously interfere with the contractual and business

relationships of Prince, and were willful, wanton, malicious, oppressive, reckless

and/or were undertaken with the intent to defraud.

                                 COUNT I
                     BREACH OF CONTRACT AGAINST HUI

      39.       Prince reasserts and realleges the preceding allegations as if fully set

forth herein.

                                             11
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 12 of 21




      40.   Prince entered into valid and binding contracts with Hui that were

supported by adequate consideration. These contracts included, without limitation,

the Hui Transaction Agreement, the Loan Agreement, the Promissory Note, the

Hui Guaranty, the Stock Pledge Agreement, and the KAYA Stock Assignment.

      41.   Hui breached its contracts with Prince by, among other things: (1)

failing or refusing to deliver the KAYA Stock to Prince as required by the Stock

Pledge Agreement; (2) failing or refusing to make Tranche A Interest Payments

when they became due under the Loan Agreement and/or Hui Guaranty; (3) failing

or refusing to make any Tranche A Principal Payments when they became due

under the Loan Agreement and/or Hui Guaranty; (4) failing or refusing to comply

with the Financial Records Obligations; (5) engaging in and/or causing KAYA to

engage in Prohibited Transactions; and/or (6) otherwise pilfering and depleting

KAYA’s assets and cash reserves to avoid paying Tranche A Principal Payments,

diminish and/or waste the value of Prince’s collateral, namely the KAYA Stock.

      42.   Prince has fully performed his obligations pursuant to the contracts

with Hui, and any conditions precedent have been satisfied.

      43.   Prince has suffered significant financial damages as a direct and

proximate result of Hui’s breaches.




                                        12
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 13 of 21




                               COUNT II
                 BREACH OF FIDUCIARY DUTY AGAINST HUI

      44.       Prince reasserts and realleges the preceding allegations as if fully set

forth herein.

      45.       By virtue of the Loan Agreement, Promissory Note, Hui Guaranty,

Stock Pledge Agreement, KAYA Stock Assignment, and/or Prince’s interest in the

KAYA Stock (as a creditor and assignee), Hui owed fiduciary duties to Prince,

including, but not limited to, the highest obligations of good faith, fair dealing,

loyalty and due care. These duties encompassed, without limitation, obligations to:

(1) make full and complete disclosure of all material facts that might affect

Prince’s interest in the KAYA Stock; (2) use care, skill and diligence in the

performance of their and KAYA’s duties and obligations; (3) fully and completely

disclose Hui’s intentions with respect to KAYA’s business operations; and/or (4)

exercise a high degree of honesty, loyalty, integrity and good faith.

      46.       Prince reposed trust and confidence that Hui would abide by its

fiduciary duties. Hui violated and breached its fiduciary duties of care, honesty,

candor, good faith and loyalty by, among other things: (1) failing or refusing to

deliver the KAYA Stock to Prince as required by the Stock Pledge Agreement; (2)

failing or refusing to make Tranche A Interest Payments when they became due

under the Loan Agreement and/or Hui Guaranty; (3) failing or refusing to make

any Tranche A Principal Payments when they became due under the Loan

                                             13
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 14 of 21




Agreement and/or Hui Guaranty; (4) failing or refusing to comply with the

Financial Records Obligations; (5) engaging in and/or causing KAYA to engage in

Prohibited Transactions; and/or (6) otherwise pilfering and depleting KAYA’s

assets and cash reserves to avoid paying Tranche A Principal Payments, diminish

and/or waste the value of Prince’s collateral, namely the KAYA Stock.

      47.       As a direct and proximate result of Hui’s disloyal acts and omissions,

as described in this Complaint, Prince has sustained significant damages,

including, but not limited to the diminution of the value of his collateral, namely

the KAYA Stock.

                        COUNT III
      FRAUDULENT SUPPRESSION AGAINST ALL DEFENDANTS

      48.       Prince reasserts and realleges the preceding allegations as if fully set

forth herein.

      49.       The Defendants suppressed certain material facts from Prince,

including, but not limited to, that Hui would NOT: (1) deliver the KAYA Stock to

Prince as required by the Stock Pledge Agreement; (2) make Tranche A Interest

Payments when they became due under the Loan Agreement and/or Hui Guaranty;

(3) make Tranche A Principal Payments when they became due under the Loan

Agreement and/or Hui Guaranty; (4) comply with the Financial Records

Obligations; (5) engage in and/or cause KAYA to engage in Prohibited

Transactions; and/or (6) otherwise pilfer and deplete KAYA’s assets and cash

                                             14
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 15 of 21




reserves to avoid paying Tranche A Principal Payments, diminish and/or waste the

value of Prince’s collateral, namely the KAYA Stock.

      50.    Further, Wright, Russell, and/or 4P suppressed that they intended to

interfere with Prince’s contracts with KAYA and Hui.

      51.    The Defendants owed a duty and were obligated to disclose these and

other material facts to Prince.

      52.    The Defendants intentionally, recklessly and/or negligently

suppressed these material facts from Prince between August 2017 and the date of

this Complaint.

      53.    The Defendants’ suppression of these material facts induced Prince to

act or refrain from acting, including, but not limited to: (1) entering into the

aforementioned contracts with KAYA and Hui; (2) forbearing exercising his rights

and/or remedies for KAYA’s and Hui’s defaults; and/or (3) forgoing and/or

postponing business opportunities. Prince reasonably relied on and acted to his

detriment as a result of the Defendants’ suppression.

      54.    The Defendants’ fraudulent concealment or suppression and deceit

has caused and continues to cause substantial financial loss and damages to Prince.




                                          15
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 16 of 21




                      COUNT IV
TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONSHIPS
            AGAINST WRIGHT, RUSSELL, AND 4P

      55.       Prince reasserts and realleges the preceding allegations as if fully set

forth herein.

      56.       Wright, Russell, and 4P knew or should have known that Prince

entered into the aforementioned agreements with KAYA and Hui.

      57.       Despite their knowledge, Wright, Russell, and 4P intentionally and

tortiously interfered with Prince’s contractual agreements with KAYA and Hui,

and knowingly and intentionally caused and/or aided KAYA and Hui to breach

their contractual obligations to Prince.

      58.       Wright, Russell, and 4P’s interference with Prince’s contractual and

business relations was and is improper and without justification.

      59.       Wright, Russell, and 4P’s interference with Prince’s contractual and

business relations has caused and continues to cause substantial financial loss and

damages to Prince.

                                   COUNT V
                            DECLARATORY JUDGMENT

      60.       Prince reasserts and realleges the preceding allegations as if fully set

forth herein.

      61.       Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§2201, et seq.

and Ala. Code §§ 6-6-220, et seq., Prince respectfully requests the Court to declare

                                             16
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 17 of 21




the rights, privileges and/or entitlements of the parties with respect to the Hui

Transaction Agreement, the Loan Agreement, the Promissory Note, the Hui

Guaranty, the Stock Pledge Agreement, and the KAYA Stock Assignment.

      62.    A justiciable and bona fide controversy presently exists between the

parties as to this matter and Prince is entitled to have it resolved by this Court.

                                  COUNT VI
                              INJUNCTIVE RELIEF

      63.    Prince, pursuant to Rule 65 of the Federal Rules of Civil Procedure,

requests the Court to maintain the Consent Injunction entered by the Court on

February 28, 2020 (Doc. 14).

      64.    Unless the Defendants are restrained, they will continue to act

unlawfully toward Prince and further diminish the value of the KAYA Stock.

      65.    If the Defendants continue in their unlawful conduct, Prince will

suffer immediate and irreparable injury.

      66.    Prince has no adequate remedy at law for the Defendants’ actions

since the damages he will suffer are incapable of exact proof, as is the harm that

the Defendants will impose upon Prince.

      67.    Preliminary injunctive relief is necessary to protect Prince’s rights and

to prevent unavoidable and irreparable injuries to him.




                                           17
          Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 18 of 21




      68.      As demonstrated above, there is not only a substantial, but a real and

imminent likelihood that Prince will succeed on the merits of the claims asserted

herein.

      69.      Additionally, there is no evidence that any hardship imposed on the

Defendants by maintaining the Consent Injunction will unreasonably outweigh the

benefit accruing to Prince. Rather, the harm caused Prince as a result of the

Defendants’ actions far exceeds any alleged harm caused them as a result of any

such preliminary injunctive relief.

                                        RELIEF

      WHEREFORE, premises considered, Prince respectfully requests that the

Court award the following relief incident to the claims set forth above:

      1.       Immediately transferring and vesting title in the KAYA Stock to

Prince.

      2.       Maintaining the Consent Injunction entered by the Court on February

28, 2020 (Doc. 14).

      3.       After trial of this cause, a permanent injunction against the

Defendants enjoining the Defendants from:

      (a)      engaging in or causing KAYA to engage in any of the Prohibited

Transactions;




                                           18
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 19 of 21




      (b)     engaging in or causing KAYA to engage in any acts that diminish the

value of the KAYA Stock;

      (c)     directing or causing KAYA to direct KAYA funds to themselves;

      (d)     paying or causing KAYA to pay the Defendants’ personal expenses

from KAYA funds;

      (e)     directing or causing KAYA to loan money or otherwise direct

payment to third-parties and/or entities owned or controlled by the Defendants;

      (f)     transferring and/or comingling KAYA’s financial and accounting

functions with Hui’s and/or other entities owned and controlled by Hui;

      (g)     selling any KAYA assets; and

      (h)     terminating any current KAYA personnel.

      4.      After trial of this cause, a judgment declaring Prince the owner of the

KAYA Stock.

      5.      After trial of this cause, a judgment for actual damages, consequential

damages, punitive and exemplary damages, statutory damages, and pre- and post-

judgment interest;

      6.      After trial of this cause, a judgment for attorneys’ and expert witness

fees, court costs and all other expenses associated with the prosecution of this

action; and




                                          19
       Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 20 of 21




      7.     For such other and further relief to which Prince shows he is justly

entitled at law or in equity.

      Respectfully submitted this 4th day of May, 2020.

                                       /s/ W. Brad English
                                       W. Brad English
                                       Benjamin L. McArthur
                                       Attorneys for Plaintiff John Prince

OF COUNSEL:
MAYNARD, COOPER & GALE, P.C.
655 Gallatin Street
Huntsville, Alabama 35801
Telephone: (256) 551-0171
Facsimile: (256) 512-0119
Email: benglish@maynardcooper.com
       bmcarthur@maynardcooper.com


                           CERTIFICATE OF SERVICE

      I hereby certify that I have this 4th day of May, 2020, served a copy of the
foregoing upon all parties to the matter through the Court’s electronic case
management system, which will effect service upon the following:

Lauren A. Smith
C. Gregory Burgess
Stephanie M. Gushlaw
LANIER FORD SHAVER & PAYNE P.C.
Post Office Box 2087
Huntsville, Alabama 35804

Attorneys for Defendants Hui Huliau,
Deryl Wright, and Howard Russell


                                       /s/ W. Brad English
                                       Of Counsel
                                         20
      Case 5:20-cv-00208-LCB Document 29 Filed 05/04/20 Page 21 of 21




       PLEASE SERVE THE FOLLOWING BY CERTIFIED MAIL:

4P MANAGEMENT COMPANY, LLC
c/o Deryl Wayne Wright, Registered Agent
1500 Wandering Oaks Lane
Norman, Oklahoma 73026




                                     21
